Case: 2:25-cv-00409-ALM-EPD Doc #: 13-15 Filed: 04/25/25 Page: 1 of 2 PAGEID #: 286




                                       U.S. Department of State
                                       Bureau of Educational and Cultural Affairs
                                       Private Sector Exchange

                                      September 2, 2016



 Guidance Directive 2016-03
 9 FAM 403.11-3 – VISA REVOCATION
 ------------------------------------------
 The Department would like to bring to your attention a policy implemented on
 November 5, 2015, which requires consular officers to prudentially revoke (i.e., without
 making a determination that the individual is inadmissible) nonimmigrant visas of
 individuals arrested for, or convicted of, driving under the influence or driving while
 intoxicated, or similar arrests/convictions, that occurred within the previous five years,
 as detailed in 9 FAM 403.11-3(A). This requirement does not apply when the
 arrest/conviction occurred prior to the date of the visa application and has already been
 assessed within the context of a visa application.

 Driving under the influence indicates a possible visa ineligibility under INA
 212(a)(1)(A)(iii) for a physical or mental disorder with associated harmful behavior that
 is likely to pose a threat to the property, safety, or welfare of the applicant or others in
 the future. Consular officers refer any nonimmigrant visa applicant with one alcohol
 related arrest in the last five years, two or more arrests in the last 10 years, or where
 other evidence suggesting an alcohol problems exists, to a panel physician for a medical
 examination prior to visa issuance in order to determine whether this type of
 ineligibility may apply to the applicant. See INA 212(d); 22 CFR 41.108; 9 FAM
 302.2-7(B)(3)(b).

 The Department’s prudential revocations reflect that, after visa issuance, new or
 additional information calls into question the subject’s continued eligibility for a visa.
 In cases of a DUI arrest/conviction, consular officers may prudentially revoke the visa
 of an individual even if he or she is physically present in the United States. If a J-1’s
 visa is revoked, the Department will usually revoke any J-2 dependents’ visas as well.

 What does this mean for exchange visitors? If an exchange visitor is in the United
 States, the revocation of their visa does not override the J-1 status granted by Customs


                      AILA Doc. No. 16100409. (Posted 10/4/16)
Case: 2:25-cv-00409-ALM-EPD Doc #: 13-15 Filed: 04/25/25 Page: 2 of 2 PAGEID #: 287
                                             2


 and Border Protection (“CBP”) at the time of their entry or their ability to stay in the
 United States (except in extremely rare instances). However, the visa is no longer valid
 for future travel to the United States. An individual whose visa has been revoked and
 who departs the United States must receive a new visa (i.e., reapply for a visa and
 demonstrate eligibility) before seeking to reenter the United States. Therefore, after the
 individual’s departure from the United States, sponsors should terminate his or her
 program status in SEVIS.

 On March 14, 2016, all unclassified 9 FAM content was made public, except for
 redacted portions that contain sensitive but unclassified language. The publicly
 available subchapters can be found at:
 https://fam.state.gov/Fam/FAM.aspx?ID=09FAM.

 We thank you for your continued commitment to international exchanges and to the
 Department’s public diplomacy mission. Your contribution is vital, and we value your
 partnership.




 Keri M. Lowry
 Deputy Assistant Secretary
 for Private Sector Exchange




                     AILA Doc. No. 16100409. (Posted 10/4/16)
